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So Ordered.

Signed this 7 day of March, 2025.



                                                          _______________________________
                                                              Robert E. Littlefield, Jr.
                                                              United States Bankruptcy Judge




    UNITED STATES BANKRUPTCY COURT
    NORTHERN DISTRICT OF NEW YORK

    In re:
                                                                                 Case No. 24-11029
             PRIME CAPITAL VENTURES, LLC,
                                                                                 Chapter 11
                                                Debtor.


                                       ORDER TO SHOW CAUSE

             On March 3, 2025, Hogan Lovells filed its first and final fee application (the “Fee App”).

(ECF No. 160). Pursuant to Local Bankruptcy Rule 9011-3:

             The name of the attorney displayed on the docket as the electronic filer must match
             the attorney name signed on the electronically-filed document. Attorneys who are
             not registered with the Bankruptcy Court for the Northern District of New York,
             and therefore, have not been issued electronic filing privileges are not permitted to
             electronically file documents using the account of a registered attorney, unless the
             registered attorney is a co-filer of the document and that status is clearly apparent
             from the document.
N.D.N.Y. Bankr. R. 9011-3(d). Here, the Fee App was electronically filed by Douglas A.

Tabachnik, Esq., whereas the documents were signed by Christopher R. Bryant, Esq., who is not

currently admitted to practice in the Northern District of New York.1


1
 Christopher R. Bryant, Esq. previously filed a motion for admission pro hac vice in the involuntary Prime case. See
Case No. 23-11302, ECF No. 49. However, the requisite fee was never paid and the Court never granted the request.

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       Now, after due deliberation, it is hereby

       ORDERED, that Hogan Lovells is directed to appear before the Court on March 26, 2025,

at 9:15 a.m. and show cause why the Fee App should not be denied for failure to comply with

Local Bankruptcy Rule 9011-3(d). Parties may appear either telephonically via call-in number:

518-217-2288, Conference ID: 939500229#, or in person at the U.S. Bankruptcy Court, James T.

Foley Courthouse, Room 306, Albany, New York; and it is further

       ORDERED, that the hearing will be rendered moot if the Debtor complies with Local

Bankruptcy Rule 9011-3(d) by no later than March 21, 2025.

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